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Line Case Name                                               Case Number Court                                    Notes
     State Farm Mutual Automobile Insurance Company, aso
                                                                           Civil Court of the City of New York,
 1 Riquet Simplice v. New England Motor Freight, Inc. and     0786/2015
                                                                           County of Queens
     Aleksandr Ilin
     Varsik, Joseph, Jr. v. Roy Auble and New England Motor                Supreme Court of the State of New
 2                                                            0786/2015
     Freight, Inc.                                                         York County of Tompkins
     Esmeralda Ramirez v. Chad G. Greiner, Esq., as
                                                                           Supreme Court of the State of New
 3 Administrator of The Estate of Charles D. Rathbun, Jr.     60988/2014
                                                                           York, Westchester County
     and New England Motor Freight, Inc.
     State Farm Mutual Automobile Insurance Co. a/s/o
                                                            49D14-1901-CT- State of Indiana, County of Marion,
 4 Lawrence Banks v. Aaron Lynn & New England Motor
                                                                002932     Superior Court, Civil Division
     Freight, Inc.
     Susan Volpe and Raymond Volpe v. New England Motor                    United States District Court, Southern
 5                                                            18-cv-6505
     Freight, Inc. and Daniel Otto                                         District of New York
     Shauna Jones v. New England Motor Freight, Inc., Paul
     E. Smith, Nirmal Debnath., Paul E. Smith, Nirmal                      Supreme Court of the State of New
 6                                                            20580/2017
     Debnath, Bethel Prayer Ministries International, USA,                 York, Bronx County
     Inc. and Byron Baah-Williams
     Ramon Romero-Reyes v. Steven Hapeman and New                          Supreme Court of the State of New
 7                                                            515683/17
     England Motor Freight, Inc.                                           York, Kings County
                                                                                                                  Defendant Wayne St. John drove for the
     Kareem A. Mills v. New England Motor Freight, Inc. and                Supreme Court of the State of New      Debtors through a temp agency and as such
 8                                                            28961/2017
     Wayne St. John                                                        York, Bronx County                     he was technically not an employee of the
                                                                                                                  Debtors.
     Angela Evans, Individually and as Parent and Natural                  Supreme Court of the State of New
                                                              EFCA2017-
 9 Guardian of Emily Evans, an Infant v. Michael Heffron                   York, Oneida County
                                                                002139
     and New England Motor Freight
      Geico Indemnity Company as subrogee of John Garzillo                    Civil Court of the City of New York,
 10                                                             026733/17
      v. New England Motor Freight, Inc. and Eriberto Ramon                   County of Queens
      Rita Alvarado v. New England Motor Freight, Inc. and                    United States District Court, Eastern
 11                                                             18-cv-2027
      Javier Correafrance                                                     District of New York
      Liberty Mutual Fire Ins-Personal v. New England Motor                   Supreme Court of the State of New
 12                                                            601341/2018                                          (Settled for $10,000 but not paid)
      Freight                                                                 York, Nassau County
      Geico General Insurance Company as Subrogee of
                                                                              Civil Court of the City of New York,
 13   Courtney Dittmar v. New England Motor Freight, Inc.       005239/18
                                                                              Queens County
      and Joseph Grandey
      Carlos Diaz v. New England Motor Freight, Inc. and                      Supreme Court of the State of New
 14                                                            607793/2018
      Antonio Aprile                                                          York, Suffolk County
      Bentley Samuels v. New England Motor Freight, Inc.,                     Supreme Court of the State of New
 15                                                             508602/18
      Cesar Correa-Mendirta                                                   York, Kings County
      Geico General Insurance Company aso Anh Hue Diec v.                     Civil Court of the City of New York,
 16                                                             028654/18
      New England Motor Freight, Inc.                                         Queens County
      Richard Milerson v. David Frank, NW England Freight                     United States District Court, Eastern
 17                                                             18-cv-6736
      Inc.                                                                    District of New York
      State Farm Mutual Automobile Insurance Company a/s/o
                                                                              Supreme Court of the State of New
 18   Derek Dowdell v. Jeffrey A. Courbat, New England         008828/2018
                                                                              York, Onondaga Country
      Motor Freight, Inc.
      Nelson Vasquez v. Edwin Torres and New England                          Supreme Court of the State of New
 19                                                             32016/18
      Motor Freight, Inc                                                      York, Bronx County
      Rheudine Harris v. Michael A. Victorino, New England
      Motor Freight, Inc., John Doe (1-5), Mary Doe (1-5),                    Superior Court of New Jersey,
 20                                                           ATL-L-2451-18
      ABC Partnerships, and XYZ Corporations, Jointly,                        Atlantic County
      severally, and in the alternative
                                                                              United States District Court
      Jose L. Ferrer v. New England Motor Freight, Inc. and
 21                                                             17-cv-5463    Eastern District of New York
      “John Doe”
                                                                              Civil Court of the City of New York
      Consolidated Edison Company of New York, Inc. v. New
 22                                                             001220/18     Queens County
      England Motor Freight, Inc.
    Orange and Rockland Utilities, Inc. v. New England                      Superior Court of New Jersey
 23 Motor Freight, Inc., Rafael Medina, John and Jane Does    BER-L-7866-18 Bergen County
    (1-5) and ABC Corps.(1-5)
    Tomas Arocho and Gloria Cosare, his wife v. Nicolas A.                  Superior Court of New Jersey
 24 Wong, New England Motor Freight, Inc., John Doe 1-10      MID-L-7848-18 Middlesex County
    & Abc Corporations 1-10
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   Cesar Uraga and Melivette Uraga v. Francois D. Serrano,
   New England Motor Freight, Inc., ABC, Inc. And Def,
   Inc., John Doe (1-10) And Jane Doe (1-10), Fictitious
                                                                         Superior Court of New Jersey
   Names, Individually, Jointly, Severally and/or In The   CAM-L-004767-
25                                                                       Camden County
   Alternative, Francois D. Serrano And New England             18
   Motor Freight, Inc. V. Andres Mosqueira And Fond Du
   Lac Cold Storage LLC

                                                                                Civil Court of the City of New York
     GEICO Indemnity Company a/s/o Val Mayo v. Northeast
26                                                                037931/2018   Queens County
     Motor Freight and Ronald Schirrman
                                                                                Supreme Court of the State of New
   Geico General Insurance Company as Subrogee of
                                                                                York
27 Annamaria Maiakis v. New England Motor Freight, Inc.,          616064/2018
                                                                                County of Nassau
   Joseph Michauskas
                                                                                Civil Court of the City of New York
     GEICO Indemnity Company a/s/o Zoraida Miranda v.
28                                                                038050/2018   Queens County
     New England Motor Freight, Inc.
                                                                              Superior Court of the State of New
   Andres L. Mosqueira v. Francois D. Serrano, New
                                                                              York
29 England Motor Fright, Inc., Melivette Uraga, Cesar Uraga      ESX-L-481-19
                                                                              Essex County
   and John Does 1-5
   Michael Singley v. New England Motor Freight, Inc.                           Superior Court of the State of New
   David Wood, Jans Leasing Corp., John Does, Mary Does,                        Jersey
30                                                               CPM-L-23_19
   ABC Partnerships and XYZ Corporations, jointly,                              Cape May County
   severally and in the alternative
                                                                               Superior Court of New Jersey
     Geico v. David Wood, Jans Leasing Corp., New England        UNN-L-000451-
31                                                                             Union County
     Motor Freight, Inc., Protective Insurance Company, et al.        19
                                                                                Supreme Court of the State of New
   State Farm Mutual Automobile Insurance Company v.                            York
32                                                                100699/2019
   New England Motor Freight, Inc.                                              Washington County

                                                                                Superior Court, State of Vermont
     Daryl Martin & Kim Martin v. New England Motor
33                                                                  345-6-17    Washington Unit
     Freight, Inc. & Robbie Layton
   Henry Jaskulski v. New England Motor Freight, Inc. a/k/a                     Court of Common Pleas
34 NEMF, a subsidiary of the Shevell Group of Companies,            1431/17     Washington County, Pennsylvania
   LLC
                                                                              Commonwealth of Pennsylvania
                                                                              County of Washington
                                                                   27306-cv-
35 Dominick Dalbo v. New England Motor Freight, Inc.                          Magisterial District Court
                                                                 0000188-2018
                                                                              27-3-06 Cecil


   Freddie Carroll v. Paul Hamilton, New England Motor
   Freight, Inc., Illinois National Insurance Company, AIG
   Assurance Company, AIG Property Casualty Company,
   Nationwide Affinity Insurance Company of America,
   Nationwide Assurance Company, Nationwide General
   Insurance Company, Nationwide Insurance Company of                           Court of Common Pleas
36 America, Nationwide Mutual Fire Insurance Company,              180201444    Philadelphia County
   Nationwide Mutual Insurance Company, Nationwide
   Property and Casualty Insurance Company, Hadish
   Medhin, Wabash National Corporation, Benedicto Sorto,
   Interpool, Inc., Interpool Ltd., Trac Intermodal LLC, Trac
   Intermodal Holding Corp., Trac Intermodal Corp., SCT
   Chassis, Inc., and Seacube Container Leasing
     Jaclyn Pullum, as Administrator of the Estate of Johen
                                                                                Court of Common Pleas of
     Lestat Clavey, and S.L.C., a minor, by Jaclyn Pullum, as
                                                                                Pennsylvania
37   Guardian v. New England Motor Freight, Inc. d/b/a New         2018-01753
                                                                                Cumberland County
     England Motor Freight d/b/a New England Motor Freight,
     Inc.
     Jalil Walters and Rashida Carter v. New England Motor                      Court of Common Pleas
38   Freight, Inc., Eastern Freight Ways, Inc., The Shevell        18-003693    Philadelphia County
     Group of Companies, LLC and Ronald Lamka
     Travelers Indemnity Company of Connecticut a/s/o L&D
                                                                                Superior Court, State of Vermont
     Safety Marking Corporation and L&D Safety Marking
39                                                                  480-8-18    Washington Unit
     Corporation v. New England Motor Freight, Inc. and
     Robbie W. Layton
     Joseph Carney v. Frank B. Lacovangelo, Esq., as Monroe                     Supreme Court of the State of New
     County Public Administrator of the Estate of Bryant                        York
40                                                                00256913/17
     Phillips, deceased, New England Motor Freight, Inc. and                    County of Rensselaer
     Eastern Freight Ways, Inc.
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     Michaela Hughes, as parent, guardian and next friend of
     Arabella Hughes, Isaiah Hughes and Ara Hughes, Minors                   Circuit Court of Cabell County, West
41                                                               19-C-37
     v. New England Motor Freight, Inc. and Christopher M.                   Virginia
     Slater
                                                                             Supreme Court of the State of New
   Daniel Rinaldi v. John W. Anderson, Eastern Freight
                                                                             York
42 Ways, Inc., Anthony D. McNeil and 24/7 Transporters,          16-1458
                                                                             Ulster County
   LLC
   Oscar Valiente v. Ernesto Cabrera, Goya Foods Inc.,                       Supreme Court of the State of New
43 Penske Truck Leasing Co. LP, Paul Donaghy, Eastern          450204/2019   York, New York County
   Freight Ways, Inc.
   Melissa Walker, Individually and as Administrator of the                  Supreme Court of the State of New
   Estate of Henry Walker, deceased, v. Ernesto Cabrera,                     York
44 Goys Enterprises Corp., Goya Foods Inc., Goya               152317/2017   New York County
   Marketing, Inc., Paul Donaghy and Eastern Freight Ways,
   Inc.
                                                                             Supreme Court of the State of New
     Anthony McNeil v. Daniel Rinaldi, John Anderson and                     York
45                                                               17-3033
     Eastern Freight Ways, Inc.                                              Ulster County

     Melissa Walker, Individually And As Administrator Of                    Supreme Court of the State of New
     The Estate Of Khalil Walker, Deceased V. Goya                           York
46                                                             154688/2018
     Enterprises Corp., Goya Foods Inc., Goya Marketing,                     New York County
     Inc., Paul Donaghy, And Eastern Freight Ways, Inc.
                                                                             Supreme Court of the State of New
     Winsome Martin v. Eastern Freight Ways, Inc. and John                   York
47                                                             517508/2018
     W. Anderson                                                             Kings County

                                                                             Supreme Court of the State of New
   Allstate Insurance Company a/s/o Angela M. Antonucci
                                                                             York
48 v. Scott Roland Narell and New England Motor Freight,       67533/2018
                                                                             Westchester County
   Inc.
                                                                             Superior Court of the State of New
   Solid Waste Services of West Virginia, Inc. v. Eastern       UNN-DC-      Jersey
49
   Freightway, Inc.                                             014917-18    Union County

                                                                             United States District Court
     Lisa Hines v. Eastern Freight Ways, Inc. and Yira Y.
50                                                             19-cv-00800   Eastern District of New York
     Guzman
                                                                             Supreme Court of the State of New
   Terrik Sparks v. Ernesto Cabrera, Goya Enterprises Corp.,
                                                                             York
51 Goya Foods, Inc., Goya Marketing, Inc., Paul Donaghy,        150823/19
                                                                             New York County
   and Eastern Freight Ways, Inc.
                                                                             Supreme Court of the State of New
   Terrik Sparks v. Ernesto Cabrera, Goya Enterprises Corp.,
                                                                             York
52 Goya Foods, Inc., Goya Marketing, Inc., Paul Donaghy,        600697/19
                                                                             Nassau County
   and Eastern Freight Ways, Inc.
   John W. James v. Paul E. Smith and New England Motor        FBT-CV18-     Superior Court J.D. of Fairfield at
53
   Freight, Inc.                                               6074905-S     Bridgeport
   Rosa Mora-Reyna v. Alden Donaldson, New England
                                                               FBT-CV19-     Superior Court J.D. of Fairfield at
54 Motor Freight, Inc. and National General Insurance Co.,
                                                               6083357-S     Bridgeport
   One West Nationwide Blvd., Columbus, OH 43215
                                                                             Circuit Court of Cook County, Illinois
     Catherine Darden and Mary Copeland v. Ralph D. Gallup
55                                                             20181301398   Municipal Dept. First Division
     and New England Motor Freight, Inc.

   State Farm Mutual Automobile Insurance Company a/s/o
56 Catherin Darden v. Ralph D. Gallup, New England Motor       20171014208
   Freight
   Kenneth Fersch v. Ricky Commo & New England Motor           HHD-CV-18-    Superior Court J.D. of Hartford at
57
   Freight, Inc.                                                6091894-S    Hartford
   Geico a/s/o Kenneth J. Fersch v. Ricky Commo & New          HHD-CV17-
58
   England Motor Freight, Inc.                                  6080832-S
   Benedicto Sorto v. Freddie Theodore Carroll, Celadon
                                                               NNH-CV17-     Superior Court Judicial District of
59 Trucking Service, Inc., Paul Thomas Hamilton and New
                                                                6076079-S    New Haven at New Haven
   England Motor Freight, Inc.
   Jenny Munson Andress, individually and as the
                                                                             Court of Common Pleas
   Administratrix of the Estate of Herbert Andress v.
60                                                                2936       Philadelphia County, PA
   Timmie Antonio Wilson & New England Motor Freight,
   Inc.
                                                                             Court of Common Pleas
     Nicole Boyd v. Jack C. Lindeman, New England Motor
61                                                             CV18902795    Cuyahoga County, Ohio
     Freight, Inc. and Nationwide Insurance
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     Richard Bryan Hill and Sheri L. Hill-Jackson, both
                                                                             Court of Common Pleas
     Individually and as Co-Administrators of the Estate of
62                                                                   979     Philadelphia County
     Richard H. Hill, deceased v. Chester Pike Auto Sales, Inc.
     et al
     Charles Miller and Maryann P. Miller v. Daniel J. Neiger    FBT-CV19-   Superior Court J.D. of Fairfield at
63
     and Eastern Freight Ways, Inc.                               6082502-S  Bridgeport
     Jayson Vargas v. Eastern Freight Ways, Inc., Daniel J.
                                                                 AAN-CV19- Superior Court Ansonia-Milford at
64   Neiger, New England Motor Freight, Inc., Charles Miller
                                                                  6031699-S  Milford
     and Maryann P. Miller
     Jose A. Cruz v. Eastern Freight Ways, Inc. and Guillermo 3:18-cv-02128- US District Ct, District of
65
     Jimenez Ortiz                                                  WWE      Connecticut
     Craig Bennet v. BP Watertown Retail LLC and Sarris
                                                                             Commonwealth of Massachusetts
66   Auto and Truck Equipment, The Gap, Inc. & New              1784CV00606
                                                                             Superior Court
     England Motor Freight, Inc.
     Thang Tran, and Yen Lam, His Wife v. New England                        Court of Common Pleas Philadelphia
67                                                               190202690
     Motor Freight Inc., et. al.                                             County, PA
     Geico General Insurance Company as Subrogee of Martin
                                                                             District Court of Nassau County First
68   Daly and Karen Daly, v. New Englad Motor Freight, Inc. CV-000041-19
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     and Rupert O. Dawson
     New London Hospitality, LLC v. New England Motor            KNL-CV19- Superior Court J.D. of New London
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     Freight, Inc.                                                6039119-S  at New London
     Janice A. Goodall v. New England Motor Freight Inc.,      NNH-cv-17-     Superior Court of J.D. of New Haven,
70
     Arturo Paez                                               6073538-S      New Haven County, Connecticut
   New Jersey Manufacturers Insurance Company a/s/o
                                                               NNH-cv-17      Superior Court of J.D. of New Haven,
71 Phyllis A. Troy v. New England Motor Freight, Inc.
                                                               6072920-S      New Haven County, Connecticut
   Rowan Phillip
   John Adams Bares, Jane Marie Marron and Eileen
                                                               NNH-cv-17-     Superior Court of J.D. of New Haven,
72 Marron v. Rowan A. Phillip, New England Motor
                                                               6073150-S      New Haven County, Connecticut
   Freight, Inc.
   Kye Ja Park and Sam Nam Jung v. Joseph Grandey and                         Supreme Court of the State of New
73                                                            703393/2019
   New England Motor Freight Inc.                                             York County of Queens
